        Case 2:22-cv-09438-AB-MAA Document 15 Filed 02/13/23 Page 1 of 5 Page ID #:188
   Name and add ress:
                   Tanya L. Greene (SBN 267975)
                      McGUIREWOODS LLP
               355 South Grand A venue, Suite 4200
                Los Angeles, California 90071-3103
              E-Mail: TGreene@mcguirewoods.com

                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA

                                                                              CASE NUMBER
  RICHARD JACKSON, et al.,
                                                          Plaintiff(s),                             2:22-cv-09438-AB-MAA

                  V.

                                                                                 APPLICATIONOFNON-RESIDENT ATTORNEY
  TWITTER, INC., et al.,                                                              TO APPEAR IN A SPECIFIC CASE
                                                       Defendant(s),                                  PROHACVICE
 INSTRUCTIONS FOR APPLICANTS
 (1) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
     Section II, and have the designated Local Counsel sign in Section Ill. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
      supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the last 30
      days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the Application. Scan the
      completed Application with its original ink signature, together with any attachment(s), to a single Portable Document Format (PDF) file.
  (2) Have the designated Local Counsel file the Application electronically using the Court's electronic filing system ("Motions and Related
      Filings => Applications/Ex Parte Applications/Motions/Petitions/Requests=> Appear Pro Hae Vice (G-64)'J, attach a Proposed Order
      (using Form G-64 ORDER, available from the Court's website), and pay the required $500 fee online at the time offiling (using a credit
      card). The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time offiling will be
      grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $500 fee. (Certain
      attorneys for the United States are also exempt from the requirement ofapplying for pro hac vice status. See L.R 83-2.1.4.) A copy of the
      G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
 SECTION I - INFORMATION

 Ellis, Jonathan Y.
 Applicant's Name (Last Name, First Name & Middle Initial)                                           check here iffederal government attorney □
 McGUIREWOODS LLP
 Firm/Agency Name
 501 Fayetteville Street                                                  (919) 755-6688                           (919) 755-6588
 Suite 500                                                                Telephone Number                         Fax Number
 Street Address
 Raleigh, North Carolina 27601                                                                   jellis@mcguirewoods.com
 City, State, Zip Code                                                                                  E-mail Address

I have been retained to represent the following parties:
 Twitter, Inc.                                                            D   Plaintiff(s) IR) Defendant(s)   D   Other:
                                                                                                                           - --------
                                                                          □   Plaintiff(s)   D Defendant(s) D Other:
 Name(s) of Party(ies) Represented
                                                                                                                           - -- - -- ---
List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

               Name of Court                            Date ofAdmission               Active Membe1· in Good Standing? (if not. please explain)
 North Carolina State Bar                                 08/27/2010                  Yes
 District of Columbia Bar                                  05/16/2014                 Yes
 U.S. Supreme Court                                        04/06/2015                 Yes


G-64 (09/20)               APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                               Page 1 of3
      Case 2:22-cv-09438-AB-MAA Document 15 Filed 02/13/23 Page 2 of 5 Page ID #:189
List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
needed):
        Case Number                                     Title of Action                            Date o(Application        Granted I Denied?




If any pro liac vice applications submitted within the past three (3) years have been denied by the Court, please explain:




Attorneys must be registered for the Court's electronic filing system to practice pro hac vice in this Court. Submission
of this Application will constitute your registration (or re-registration) to use that system. if the Court signs an Order
granting your Application, visit www.pacer.gov to complete the registration process and activate your e-filing
privileges in the Central District of California.

           SECTION II - CERTIFICATION

           I declare under penalty of perjury that:

           (1) All of the above information is true and correct.
           (2) I am not a resident of the State of California. I am not regularly employed in, or engaged in
               substantial business, professional, or other activities in the State of California.
           (3) I am not currently suspended from and have never been disbarred from practice in any court.
           (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and
               Criminal Procedure, and the Federal Rules of Evidence.
           (5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar
               of this Court and maintains an office in the Central District of California for the practice of law, in
               which the attorney is physically present on a regular basis to conduct business, as local counsel
               pursuant to Local Rule 83-2.1.3.4.

               Dated February 13, 2023                                Jonathan Y. Ellis




G-64 (09/20)               APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                             Page 2 of3
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    SECTION III - DESIGNATION OF LOCAL COUNSEL
     Greene, Tanya L.
     Designee's Name (Last Name, First Name & Middle Initial)
     McGuire Woods, LLP
     Firm/Agency Name
    355 S. Grand Avenue                                                (2 13) 457-9879                       (2L3) 457-9899
    Suite 4200                                                         Telephone Number                      Fax Number
    Street Address                                                     tgreene@mcguircwoods.com
    Los Angeles, California 90071-3103                                 Email Address
    City, State, Zip Code                                              267975
                                                                       Designee's California State Bar Number

   I hereby consent i-o the foregoing designation as local counsel, a nd declare under penalty of perjury that I maintain an office in the
   Central District of California for the practice oflaw, in which I am physically present on a regular basis to conduct business.
                Dated February 13, 2023




  SECTION IV - SUPPLEMENT Al'{SWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)

   Name of Court                                 Date of Admission    Active Member in Good Standing? (if not, please explain)
   U.S. Court of Appeals for the 2nd Circuit      12/09/2022                             Yes
   U.S. Court of Appeals for the 3rd Circuit      05/24/2022                              Yes
   U.S. Court of Appeals for the 4th Circuit      04/0l/2014                             Yes
   U.S. Court of Appeals for the 5th Circuit      12/27/2023                             Yes
   U.S. Court of Appeals for the 6th Circuit      Ol/ l 6/2014                           Yes
   U.S. Cou1t of Appeals for the 9th Circuit      12/19/2011                             Yes
   U.S. Court of Appeals for the 11th Circuit 04/26/2022                                 Yes
   U.S. Court of Appeals for the District of Columbia Circuil     04/16/2014             Yes
   U.S. Court of Appeals for the Federal Circuit                  07/08/2014             Yes
   U.S. District Court for the District of Columbia               02/01/2016             Yes
   U.S. District Court for the Eastern District of North Carolina Ol/31/2022             Yes
   U.S. District Court for the Northern District of Illinois      11/13/2014             Yes
   U.S. District Court for the Western District of North Carolina 02/08/2022             Yes




G-6'1 (09/20)               AP,PUCA TTON OF NON-RESIDENT A'f'fORNEY TO Al'PEAR IN A Sl'ECIHC CASE J'l!O HAC VICE                  Page3 of 3
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                           Supreme Court
     OF THE STATE OF NORTH CAROLINA



             I, Grant E. Buckner, Clerk of the Supreme Court of North Carolina, do hereby certify

   that on August 27, 2010, license to practice as an Attorney and Counselor at Law in all the

   Courts of this State was issued by the North Carolina Board of Law Examiners to


                                Jonathan Yates Ellis
   according to the certified list oflicentiates reported by the Secretary of said Board and filed

   in my office as required by statute.

             To the date of this certificate, no order revoking said license has been filed with this

   Court and no order suspending same is in effect.

             WITNESS my hand and the Seal of the Supreme Court of North Carolina at office in

   Raleigh, this January 24, 2023.




                                                               ~1!rc::--
                                                            Clerk of the Supreme Court
                                                            of the State of North Carolina



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             On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                             the District of Columbia Bar does hereby certify that



                                       Jonathan Ellis
            was duly qualified and admitted on May 16, 2014 as an attorney and counselor entitled to
            practice before this Court; and is, on the date indicated below, an Active member in good
                                                standing of this Bar.




                                                                                   In Testimony Whereof,
                                                                               I have hereunto subscribed my
                                                                              name and affixed the seal of this
                                                                                     Court at the City of
                                                                           Washington, D.C., on January 19, 2023.




                                                                                   JULIO A. CASTILLO
                                                                                    Clerk of the Court




                                                              Issued By:


                                                                                David Chu - Director, Membership
                                                                               District of Columbia Bar Membership




      For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                          memberservices@dcbar.org.
